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                                        IN THE
                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )
                                                 )            No. 4:23-mj-1417
ANDREW VENEGAS                                   )
                                                 )

                 ORDER ON UNOPPOSED MOTION FOR CONTINUANCE

        Pending before the Court is a motion filed by the Defendant for continuance of the

 sentencing setting. In accordance with 18 U.S.C. § 3161(h)(7)(A), the basis for the continuance is

 the finding that the ends of justice served in granting such continuance outweigh the best interests

 of the public and the Defendant in a speedy trial.



        The Court finds that, pursuant to 18 U.S.C. § 3161(h)(7)(B), a failure to grant continuance

 in this case would deny counsel for the Defendant the reasonable time necessary for effective

 preparation taking into account the exercise of due diligence and would thereby result in a

 miscarriage of justice for the Defendant.



        The Defendant recites that there has been inadequate time to sufficiently prepare for trial.

 Denial of the reasonable time necessary for effective trial preparation is expressly enunciated in

 18 U.S.C. § 3161(h)(7)(B)(iv) as a factor in determining that a continuance in the ends of justice

 would outweigh the public’s interest in a speedy trial.
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             IT IS HEREBY ORDERED that the Defendant’s Unopposed Motion for

Continuance is GRANTED/DENIED. A period of excludable delay shall commence from today,

pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B), and end upon the start of trial. Trial of this case

is hereby scheduled to commence on                                        .



       THE SCHEDULING ORDER SHALL BE AMENDED AS FOLLOWS:

       MOTIONS will be filed by                            .

       RESPONSES due by                            .

       PROPOSED VOIR DIRE AND CHARGE due by                               .

       PRETRIAL CONFERENCE is set for                             .



       SIGNED on this the _______ day of October, 2023, at Houston, Texas.




                                            KENNETH M. HOYT
                                            UNITED STATES DISTRICT JUDGE
